         Case 1:19-cr-10345-DPW Document 73 Filed 12/15/20 Page 1 of 2




                 FEDERAL PUBLIC DEFENDER OFFICE
                           DISTRICT OF MASSACHUSETTS
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                           BOSTON, MASSACHUSETTS 02210

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                                                  December 15, 2020

By email and ECF filing
AUSA Kristina E. Barclay
AUSA Neil Gallagher
U.S. Attorney’s Office
1 Courthouse Way
Boston, MA 02210

                     Re:    United States v. Dana Pullman, et al.
                            Criminal No. 19-cr-10345-DPW
Dear Counsel:

        Based upon a review of the reports provided by the government on December 1, 2020, I
write to request the following additional discovery materials in the above-referenced case:

   1. For the relevant time period covered by the indictment in this case (2012-2018), the
      retainer agreements between the State Police Association of Massachusetts (“SPAM”)
      and the following individuals and or their respective law firms:

          a. Attorney Leonard Kesten;
          b. Attorney Richard Rafferty;
          c. Any other attorney or law firm that had a retainer agreement with SPAM during
             the relevant period covered by the indictment;

   2. In the recent discovery disclosure produced by the government on December 1, 2020, the
      defendants received reports detailing statements made by most, if not all, of the SPAM
      Constitutional Officers and a number of Troop Representatives. Missing from this
      disclosure were any statements made to federal investigators by SPAM Treasurer
      Andrew Daly. Trooper Daly was responsible for monitoring SPAM’s finances for the
      relevant period and would undoubtedly have noted and or discussed any questionable
      expenditures or requests for reimbursement made by Executive Board members. We
      request that the government turn over all exculpatory statements made by Trooper Daly
      regarding expenditures or reimbursement requests made by then SPAM President Dana
      Pullman. Further, we request all exculpatory statements made by Trooper Daly regarding
      any aspect of the charges leveled against Dana Pullman in the indictment before the
      federal court.
          Case 1:19-cr-10345-DPW Document 73 Filed 12/15/20 Page 2 of 2




   3.   In the government’s reply to our original discovery letter dated November 3, 2020, it
        replied that it “was not aware of any state law enforcement investigation” related to this
        federal investigation of the defendants. The government’s recent discovery disclosure
        contained several reports, including in a statement taken from retired Deputy
        Superintendent Frank Hughes, that referenced a Massachusetts Attorney General’s
        Office investigation regarding Troy Rifles involving Assistant Attorney General Peter
        Mullen. Related discovery materials in this case describe meetings between Trooper
        Mike Wilmont, Anne Lynch, and the management of Troy Rifles. Troy Rifles sought to
        become an MSP vendor. We would request any additional reports or materials related to
        this investigation that is in the possession of the government.


        Please let us know if you have any questions regarding these requests.


                                                     Sincerely,

                                                     /s/ Oscar Cruz, Jr.

                                                     /s/ Brendan Kelley


cc: Clerk of Court (via ECF)
